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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION


TOM PALMER, derivatively on behalf
of MOHAWK INDUSTRIES, INC.,
                                        Civil Action No.: 4:20-CV-00110-ELR
                   Plaintiff,

v.

JEFFREY S. LORBERBAUM,
FRANK H. BOYKIN, GLENN R.
LANDAU, WILLIAM
CHRISTOPHER WELLBORN, FILIP
BALCAEN, KAREN A. SMITH
BOGART, BRUCE C.
BRUCKMANN, RICHARD C. ILL,
JOSEPH A. ONORATO, WILLIAM
H. RUNGE III,

                   Defendants,

       and

MOHAWK INDUSTRIES, INC.,

                   Nominal Defendant.



[Caption continues on next page]
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JOE THARAYIL, Derivatively on            Civil Action No. 4:20-CV-00185-ELR
Behalf of Mohawk Industries, Inc.,
                    Plaintiff,

v.

JEFFREY S. LORBERBAUM,
BRIAN CARSON, FRANK H.
BOYKIN, GLENN R. LANDAU,
KAREN A. SMITH BOGART, FILIP
BALCAEN, BRUCE C.
BRUCKMANN, JOSEPH A.
ONORATO, WILLIAM H. RUNGE
III, W. CHRISTOPHER WELLBORN,
and RICHARD C. ILL,

                    Defendants,
and

MOHAWK INDUSTRIES, INC., a
Delaware Corporation,
                    Nominal
                    Defendant.

           ORDER CONSOLIDATING RELATED ACTIONS
               AND APPOINTING LEAD COUNSEL




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      Upon consideration of the Unopposed Motion of Derivative Plaintiffs Joe

Tharayil and Tom Palmer for Consolidation and Appointment of Lead Counsel (the

“Unopposed Motion”) [Doc. 17], is it hereby ORDERED as follows:

      1.       The cases Tharayil v. Lorberbaum, et al., No. 4:20-CV-00185-ELR and

Palmer v. Lorberbaum, et al., No. 4:20-CV-00110-ELR (the “Related Derivative

Actions”) are hereby deemed related and consolidated for all purposes, including

pre-trial proceedings and trial, into one consolidated action (the “Consolidated

Derivative Action”).

      2.       Every pleading filed in the Consolidated Derivative Action, or in any

separate action included herein, shall bear the following caption:

                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION
IN RE MOHAWK INDUSTRIES, INC. ) Lead Case No.: 4:20-CV-00110-ELR
DERIVATIVE LITIGATION         )
                              )(Derivative Action)
This Document Relates To:     )
                              )
          ALL ACTIONS.        )
                              )
                              )

      3.       The files of the Consolidated Derivative Action shall be maintained in

one file under Lead Case No.: 4:20-CV-110-ELR.




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      4.       The following attorneys are hereby appointed as Lead Counsel for

Plaintiffs for the conduct of the Consolidated Derivative Action:

                             JOHNSON FISTEL, LLP
                          Michael I. Fistel, Jr. (GBN: 262062)
                             michaelf@johnsonfistel.com
                          William W. Stone (GBN: 273907)
                             williams@johnsonfistel.com
                              40 Powder Springs Street
                                  Marietta, GA 30064
                             Telephone: (770) 200-3104
                              Facsimile: (770) 200-3101

                        BRAGAR EAGEL & SQUIRE, P.C.
                                Melissa A. Fortunato
                               fortunato@bespc.com
                                  Marion Passmore
                                passmore@bespc.com
                          580 California Street, Suite 1200
                             San Francisco, CA 94104
                            Telephone: (415) 568-2124
                             Facsimile: (212) 486-0462

      5.       Plaintiffs’ Lead Counsel shall have sole authority to speak for plaintiffs

in matters regarding pre-trial procedure, trial, and settlement negotiations, and shall

make all work assignments in such manner as to facilitate the orderly and efficient

prosecution of this litigation and to avoid duplicative or unproductive effort. No

settlement of this or any related action may be finalized without Lead Counsel’s

direct participation and approval.




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      6.       Plaintiffs’ Lead Counsel will be responsible for coordinating all

activities and appearances on behalf of plaintiffs and for the dissemination of notices

and orders of this Court. No motion, request for discovery, or other pre-trial or trial

proceedings shall be initiated or filed by any plaintiffs except through Plaintiffs’

Lead Counsel.

      7.       Defendants’ counsel shall be entitled to rely upon all agreements made

with plaintiffs’ Lead Counsel, or any other duly authorized representative of

plaintiffs’ Lead Counsel, and such agreements will be binding on plaintiffs.

      8.       This order shall apply to each case arising out of the same, or

substantially the same, transactions or events as the Consolidated Derivative Action,

which is subsequently filed in, removed to, or transferred to this Court.

      9.       When a case which properly belongs as part of In re Mohawk

Industries, Inc. Derivative Litigation, Lead Case No. 4:20-CV-00110-ELR, is

hereafter filed in this Court or transferred here from another court, counsel for the

Parties in this action shall call to the attention of the Clerk of the Court the filing or

transfer of any case that might properly be consolidated as part of the Consolidated

Derivative Action, and counsel for the Parties in this action shall assist in assuring

that counsel in subsequent actions receive notice of this Order.




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      10.    Defendants have waived service of any papers or documents in the

Related Derivative Actions. Defendants shall be under no obligation to respond to

any of the complaints currently filed in the Related Derivative Actions, pursuant to

the terms of the stay referenced in Paragraph 11.

      11.    The Consolidated Derivative Action shall remain stayed under the same

terms as set forth Judge Cohen’s order in Palmer v. Lorberbaum, et al., No. 4:20-

CV-00110, entered on July 20, 2020.

      SO ORDERED, this 20th day of October, 2020.




                                      ELEANOR L. ROSS
                                      UNITED STATES DISTRICT JUDGE
                                      NORTHERN DISTRICT OF GEORGIA




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